             Case 3:13-cr-00038-PGS                                Document 194                       Filed 08/02/16                     Page 1 of 1 PageID: 882
CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED COUNSEL (Rev. 5/99)
I. CIR./DISTJ DIV. CODE  2. PERSON REPRESENTED                                                                                     VOUCHER NUMBER
                DIST                         AMAECHI A. AHUAMA

3. MAG. DKT./DEF. NUMBER                           4. DIST. DKT.IDEF. NUMBER                         5. APPEALS DKT./DEF. NUMBER                        6. OTHER DKT. NUMBER
                                                              Cr._13-38-(03)_(PGS)

7. IN CASE/MATTER OF Ccsse Name)          8. PAYMENT CATEGORY                               9. TYPE PERSON REPRESENTED                       10. REPRESENTATION TYPE
                                                                    E Petty Offense          X Adult Defendant              C Appellant          (See Inst rsicttons
                                          X Felony
     USA V. AHUAMA                        C Misdemeanor             C Other                  C Juvenile Defendant           C Appellee           OT
                                          El Appeal                                          flOtber
I I. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to seventy of offense.
      18:1   956(a)( 1 )(A)(i),(B)(I) LAUNDERING OF MONETARY INSTRUMENTS
12. ATTORNEY’S NAME (First Name, Ml, Last Name, including any su(lLr),                               13. COURT ORDER
      AND MAILING ADDRESS                                                                             x  0 Appointing Counsel
                                                                                                         F Subs For Federal Defender
                                                                                                                                                        El
                                                                                                                                                             C Co-Counsel
                                                                                                                                                             R Subs For Retained Attorney
      ERIC J. MARCY, ESQ.
         .                               .                                                                P Subs For Panel Attorney                          Y Standby Counsel
      Wilentz, Goldman & Spitzer, PA

      90 Woodbridge Center Drive                                                                     Prior Attorney’s                               David    1• Schafer, P8g.
                                                                                                        Appointment Dates                      7/21/2016
      Woodbridge          NJ 07095
                                                                                                           Because the above-named person represented has testified under oath or has otherwise
      Telephone Number:             (72)R55_6pp4 & Pp (732)726-630                                   satisfied this Court that he or she (I) is financially usable to employ counsel and (2) does not
                                                                                                     wish to waive counsel, and because the interests ofjustice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (‘Ottly provide per instructions)                           name appears in Item 12 is appointed to represent this person in this case. OR
                                                                                                          Other t’See I,istru   ons)
                                                                                                                           (2Z,Mi_L
                           SAME
                                                                                                                            ct_1,
                                                                                                                        Signatur of Pre iding Judicial Officer or By Order of the Court


                                                                                                                     Dale of Order                               Nunc Pro Tune Date
                                                                                                     Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                     appointment.             YES    J NO

                          CLAIM FOR SERVICES AND EXPENSES                                                                                      FOR COURT USE ONLY
                                                                                                             TOTAL                  MATh/TECH.               MATH/TECH.
                                                                                     H                                                                                            ADDITIONAL
       CATEGORIES (Attach itemization of sers’ices with date.IJ                                             AMOUNT                   ADJUSTED                 ADJUSTED
                                                                                    CLAIMED                                                                   AMOUNT
                                                                                                            CLAIMED                   HOURS
15.    a. Arraignment and/or Plea
       b. Bail and Detention Hearings
       c. Motion Hearings
       d. Trial
       e. Sentencing Hearings
       f. Revocation Hearings
       g. Appeals Court
       Ii. Other (Specify on additional sheets)
       (RATE PER HOUR = S                                ‘)    TOTALS:
16.    a. Interviews and Conferences
       b. Obtaining and reviewing records
       c. Legal research and brief writing
       d Travel time
       e. Investigative and other work (Specify on additional sheets,)
       (RATE PER HOUR = S                               )    TOTALS:
17.    Travel Expenses (‘lodging, parking, meals, mileage, etc.)
18.    Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                          20. APPOINTMENT TERMINATION DATE                             21. CASE DISPOSITION
                                                                                                           IF OTHER THAN CASE COMPLETION
                                                       TO:
22. CLAIM STATUS                    Q Final Payment              El Interim Payment Number                                              fi Supplemental Payment
                                                                                                   )0i[]
      Have you previously applied to the court for compensation and/or reimbursement for thin             YES         NO          If yes, were you paid?    Q YES            NO
      Other than from the Court, have you, or to your knowledge has anyone else,     received  payment (compensation or anything of value) from any other source in connection with this
      representation? El YES            NO           If yen, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.
      Signature of Attorney                                                                                                                  Date

                                                          APPROVED FOR PAYMENT                          —   COURT USE ONLY
23. IN COURT COMP.                    24. OUT OF COURT COMP.             25. TRAVEL EXPENSES                 26. OTHER EXPENSES                         27. TOTAL AMT. APPR./CERT


28. SIGNATURE OF THE PRESIDING JUDICIAL OFFICER                                                              DATE                                       28a. JUDGE/MAG. JUDGE CODE


29. IN COURT COME.                    30. OUT OF COURT COME.             31. TRAVEL EXPENSES                 32. OTHER EXPENSES                         33. TOTAL AMT. APPROVED


34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                 DATE                                      34a. JUDGE CODE
    ui excess oft/ic statutory threshold amount.
